Case 4:09-cr-00048-ALM-CAN Document 387 Filed 12/18/09 Page 1 of 2 PageID #: 482



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


 UNITED STATES OF AMERICA                  §
                                           §   NO. 4:09CR48
        vs.                                §   Judge Crone
                                           §
 GABRIEL MENDOZA, JR.. (2)                 §
 a.k.a. "Jr."                              §

                            ELEMENTS OF THE OFFENSE


 TO THE HONORABLE MARCIA CRONE, UNITED STATES JUDGE FOR THE
 EASTERN DISTRICT OF TEXAS:

     Title 21, United States Code, Section 846, makes it a crime for anyone to conspire

 with someone else to commit a violation of certain controlled substances laws of the

 United States. In this case, the defendant is charged with conspiring to manufacture or

 distribute or possess with intent to manufacture or distribute a controlled substance or

 controlled substances.

     A "conspiracy" is an agreement between two or more persons to join together to

 accomplish some unlawful purpose. It is a kind of "partnership in crime" in which each

 member becomes the agent of every other member.

     The elements of conspiracy are:

     First: That two or more persons, directly or indirectly, reached an agreement to

 manufacture or distribute or possess with intent to manufacture or distribute a controlled


 ELEMENTS OF OFFENSE
 Page 1
Case 4:09-cr-00048-ALM-CAN Document 387 Filed 12/18/09 Page 2 of 2 PageID #: 483



 substance or controlled substances.

     Second: That the defendant knew of the unlawful purpose of the agreement; and

     Third: That the defendant joined in the agreement willfully, that is, with the intent to

 further its unlawful purpose.


                                           Respectfully submitted,

                                           JOHN M. BALES
                                           United States Attorney


                                           /s/
                                           Heather Rattan
                                           Assistant United States Attorney
                                           Texas Bar No. 19349300
                                           101 East Park Boulevard, Suite 500
                                           Plano, Texas 75074
                                           Telephone: (972) 509-1201
                                           Facsimile: (972)509-1209
                                           heather.rattan@usdoj.gov


                                    Certificate of Service


      I hereby certify a true and correct copy of the foregoing was served by electronic
 filing by CM/ECF to Mr. Christopher D. Muler on this the 18th day of December, 2009.


                                               /s/
                                           ______________________________________
                                            Heather Rattan




 ELEMENTS OF OFFENSE
 Page 2
